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            J
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNS YLVANIA


Norman Micha e l Vega,
               Plaintiff,

           -v-
Michael Mullen, Berks Cou n ty Jail                 COMPLAINT     6       46 0
Systems Mail Room Supervi s or;                  Civil Action No .
Jennifer Sharp, Lieutenan t /Booking
                                                                     ---
Supe r visor; Jeffrey Smith , Chief
Deputy Warden; Janine Qui g ley,
Warden
               Defendants


                            I . JURISDICTION & VENUE
1 . This is a civil action authorized by 42 U.S.C. Section 1983
to r edress the deprivatio n , under color of state law, of rights
secured by the Constituti o n of the United States. The Court has
jurisdiction under 28 U. S . C. Section 1331 and 1343 ( a)(3). Plain-
tiff seeks injuction reli e f pursuant to and authorized by 28
U. S . C . Section 2283 & 22 84 and Rule 65 of the Feder a l Rules of
Ci vi l Procedure.
2 . The Eastern District o f Pennsylva ni a i s an app ropriate venue
und e r  2 8 U. S . C . Section 1 391 (b)(2) bec a use i t is where the
e v ents g iving rise to th is cl a im occurred .

                            I I. PLAINTI FFS
3. Pl a intiff Norman M. Veg a i s a nd wa s at all times mentioned
h erei n a prisoner of the S tate of Pennsylvania while also in the
custudy of Berks County J a il Systems. He is also currently con-
fin e d in Berks County J a i l , i n Lee sp ort , Pennsylvania .

                            I I I. DEFENDANTS
4 . Defendant Janine Quigl e y is the Warden of Berks County Jail
Systems . She is legally r e sponsible for the operation of Berks
County Jail and for the we lfare and fairness of all the inmates
in the jail .
5. Defendant Jeffrey Smit h is the Chief Deputy Ward e n of Berks
County Jail Systems who, a t all times mentioned in this complaint,
held rank of Chief Deput y Warden at Berks County Jail .
6 . Defendant Jennifer Sh ar p is the Lieutenant Bookin g Supervi s or
of Berks County J a il Syst e ms . She i s r esponsible for all mail
room o perations .
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7. Defendant Michael Mull e n is the Mail Room Supervisor of
Berks County ' Jail Systems .
8. Each Defendant is sued individually and in his/her official
capacity. At all times mentioned in this complaint each Defendant
acted under the color of state law.

                            IV. FACTS
9. At all times relavant to this case, Plaintiff Norman M. Vega
was housed in J-Unit of Be rks County Jail.
10. April 24, 2016: On this date , Plaintiff's family, who
already had a be-lated Birthday Card ready to be mailed to Plain-
tiff, with a drawing his five year old daughter drew on for him
with coloring pencil, were told by Plaintiff not to mail the
birthday card until he was able to find out if the coloring
pencil drawing was prohibited, as is color crayon markings.
11. On April 26, 2016, Plaintiff submits a 'Berks County Jail
System Inmate Communication Form' to mail room staff inquiring as
to whether or not color pencil markings are prohibited on in-
coming mail as is color crayon markings since this information is
not cited in the 'Berks County Jail System Inmate Handbook'.
12 . Two weeks later, on May 10, 2016, Plaintiff receives a
response on this same 'Communication Form', ~here Mail Room
Supervisor Michael Mullen states, 'Due to the fact that there is
little diffrence in appearance of colored crayon and colored
pencil (markings) we are not accepting color Pencil (ma r kings)'.
This 'Communication Form' is attached as Exhibit A.
13. On May 11, 2016, Plaintiff informs his family that they not
forw ar d the be-lated birthday card, since color pencil markings
on incoming mail is also prohibited.
14. On or about May 13, ~ 2 016, Plaintiff is told by his family         c


that they have purchased another birthady card they would have
his daughter draw on for Plaintiff with pen and pencil only.
15. On May 18, 2016, Plaintiff's birthday card is mailed out to
him with a drawing his d a ughter made in pen and pencil only.
16. On May 26, 2016, Plaintiff submits a 'Berks County Jail
System Inmate Communication Form' to the mail room inquiring on
whether or not Mail Room staff received said birthday card. This
 'Communication Form' is a ttached as Exhibit B.
17. Ori May 27, 2016, Pla i ntiff receives 20 photos in an envelope
with a 'Berks County Pri s on - Mail Room, Notification of Returned
/Destroyed Mail' slip da t ed, MBy 25, 2016, indicating that a
'letter' was destroyed. The reason stated, 'No Cra y on'. This
'Notification' slip is a t tached as Exhibit C.
18. On this same date, P l aintiff submits another 'Communication
Form' to the Mail Room i n quiring as to why birthday card was
destroyed instead of bei n g returned to sender and/or Plaintiff
being given the opportun i ty to challenge the censorship.


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19. On June 1, 2016, Pla i ntiff receives a response to his
May 26, 2016   'Communica t ion Form' (Exhibit B) attached together
with Plaintiff's May 27, 2016     'Communication Form' by Mail Room
Supervisor Michael Mulle n dated May 31, 2016, stating,
'Confiscated items are d e stroyed. You will not be called in
advance for disposition of the item'. The May 27, 2016 'Commun-
ication Form' is attached as Exhibit D.
20. Upon information and belief, it is general prison knowledge
that mail room staff arb i trarily and capriciou~ly select which
incoming mail considered by broad standards to be 'contraband
mail' inmates are allowe d to receive, is destroyed, returned back :
to 'Sender' or placed in inmates property.

                    V. EXHAUSTION OF LEGAL REMEDIES 1
21. Plaintiff used the p r isoner grievance procedur e available at
Berks County Jail to try and solve the problem by questioning and
indicating the need for a policy change or at the most, for
certain requests to be c a rried out before mail is destroyed. On
June 2, 2016, Plaintiff p resents the facts relating to this
complaint. On June 9, 20 1 6, Plaintiff was sent a response by
Booking Supervisor Lieut e nant Jennifer Sharp ultimately denying
the grievance. On June 1 3 , 2016, Plaintiff appealed the denial of
the grievance to the Warden. On June 20, 2016, Plaintiff receives
a response by Chief Depu t y Warden Jeffrey Smith, 'in the absense
of The Warden', denying h is grievance appeal. Plaintiff's
grievance and appeal are attached as Exhibit E.

                          VI. LEGAL CLAIMS
22 . Plaintiff realleges a nd incorporates by reference        para-
graph 1-22.
23. Defendant Michael Mu l len, in an individual and official capa-
city, was negligent and d eliberatly indiffrent when he reviewed
and authorized the destr u ction of Plaintiff's incoming personal
and irreplaceable birthd a y card Plaintiff's five y e ar old
daughter drew on for him . Defendant Mullen's action viol~ted
Plaintiff's rights under the First, Fifth and Fourteenth Amend-
ment to the United State s Constitution's substantial and
procedural due process r i ghts under color of official capacity,
depriving Plaintiff of p r operty without due process by not
allowing Plaintiff to ch a llenge the censorship of incoming mail -
causing Plaintiff emotio n al distress.
24. By failing to remedy or redress the wrongs described herein,
and encouraging the cont i nuation of such mail room policies by
denying relief to Plaint i ff, Defendant's Lieutenant Jennifer
Sharp, Chief Deputy Ward e n Jeffrey Smith and Warden Janine
Quigley are also violati n g Plaintiff's rights under the First,
Fifth and Fourteenth Amen dment to the United States Constitution
and causing Plaintiff em o tion a l distress; and injury to his
First, Fifth and Fourtee n th Amendment rights.



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25. The Plaintiff has no plain, adequate or complete remedy at
law to redress the wron g s described herein. Plaintiff has been
and may, as with other Berks County Jail inmates, be irreparably
injured by the conduct of the defendants, due to mail room
policies, unless this court grants the injuctive relief which
plaintiff seeks.

                         VII. PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully prays that this court enter
judgement:
26. Granting Plaintiff a declaration that the acts and omissions
described herein violate his rights under the Constitution and
laws of the United States, and,
27. A preliminary and permanent injuction ordering defendant's
Mullen, Sharp, Smith and Quigley to cease the practice of destroy-
ing any and all incoming U.S. mail property belonging to inmates,
and,
28. Granting Plaintiff compensatory damages in the amount of
$10,000.00 against each defendant, jointly and severally.
29 . Plaintiff seeks punitive damages in the amount of $10,000.00
against each defendant, jointly and severally.
30. Plaintiff also seeks a jury trial on all issues triable by
jury.
31 . Plaintiff also seeks recovery of his costs in ' this suit, and,
32. Any additional relief this court deems just, proper, and
equitable .

Dated: August 17, 2016

             Submitted,


Norman M. Veg
#2001-2212
Berks County Jail
1287 County Welfare Rd.
Leesport, PA 19533-9397




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                           VERIFICATION


      I have read the fo r egoing complaint and hereby verify that
the matters alleged ther e in are true, except as to matters
alleged on information a n d belief, and, as to those, I believe
them to be true. I certi f y under penalty of perjury that the
foregoing is true and co r rect.

       Executed at Leesp o rt, Pennsylvania on August 17, 2016.
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                      EXHIBIT ''A I
                              Case 5:16-cv-04620-GEKP Document 5 Filed 10/24/16 Page 7 of 21
                                              BERKS COUNTY JAIL SYSTEM
                                            INMATE COMMUNICATION FORM
                                                                                BCJ #:    c/2F!)/ , ;ztJ 2
Inmate Name:            JYY11}')() · . )!;? C\                             Unit/Cell#:    J ·-cJ_, /3                                Date:       . ;;_ , ;!_J)L(
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TO:           (Select only~ of the 'following; se~l:Jcting more than ONE box will result in your communication being filed unanswered.)


cisooking/fv1aU/Property             D      Custody              D   Inmate Accounts           D   Medical                                   0    Warden
D Chapel                             D      Deputy Warden        D   Inmate Telephones         D   SOG Commander                             0    Other_ __
D Commissary                         D      Education            D   Kitchen                   D   Treatment

Write legibly, supply all relevant details. Forms which are unclear or contain demeaning language, threats or
profanity will not be addressed. ONLY ONE TOPIC PER COMMUN/CATION.




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       being unanswered and filed.




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BCJS 501 U-5/2015                  Original - Treatment File               Canary - Return to inmate with response
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                      EXHIBIT 'B'
                                Case 5:16-cv-04620-GEKP Document
                                                 BERKS COUNTY    5 Filed
                                                              JAIL SYSTEM10/24/16 Page 9 of 21
                                                INMATE COMMUNICATION FORM

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Inmate Name: /\-ltJrd)l"f/)                   ti/•    Vt11C1                                     Unit/Cell#: J·cfl/2                                                                             Date: ~~ft1,hu!l1
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0      Chapel - -                           D   Deputy Warden                0     Inmate Telephones                           D          SOG Commander                                                             D Other_ __
0      Commissary                           D   Education                    D     Kitchen                                     D          Treatment

Write legibly, supply all relevant details. ·Forms which are unclearor·contain demeaning language, threats or
profanity will not be addressed. ONLY ONE TOPIC PER COMMUN/CATION.
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                        EXHIBIT 'C'
              Case 5:16-cv-04620-GEKP Document 5 Filed 10/24/16 Page 11 of 21

                                           Berks County Prison
                                              MAILROOM


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The following was received at the mail room for processing and is being returned I destroyed for the
followin reasons:
FROM I RETURNED 'fO:                 - ,
NAME       I<~ LJ~l ' l _- l cJ I l (c )_.             REASON FOR DESTROYED MAIL

                                                           [] PICTURES
                                                                POLAROIDS
 ~J LETTER                   []PACKAGE                          CRIMINAL NATURE
                                                                SEXUALLY EXPLICIT _ _
REASON FOR RETURNED MAIL                                   [] STAMPS, PAPER, ENVELOPES ,
                                                           [] THIRD PARTY MAIL         I                                 \)Y
   []    CASH-MONEY ORDERS ONLY                           ,[] STICKERS                      ~1                      /j:J
   []    ITEMS MUST COME FROM BOOKSTORE                    [] HARD PLASTIC           I ~ /;-/.
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   []
         PHONE CARDS /CREDIT CARDS ETC.
         CLOTHING ITEMS
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                       EXHIBIT 'D'
                                                                  Case 5:16-cv-04620-GEKP  DocumentJAIL
                                                                                    BERKS COUNTY    5 Filed 10/24/16 Page 13 of 21
                                                                                                        SYSTEM
                                                                                  INMATE COMMUNICATION FORM

                                                                                                                                          BCJ #:c/oJ/p ,t...~/;z.,
Inmate Name:                                                                                                                         Unit/Cell #: J ~ g
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T/                                          (Select only one of the following; ''s~L~ctjr-,g m0re .th ah ONE-box' will result in your communication being filed unanswered.)


~ Booking/Mail/Property                                                            D Custody                            D   Inmate Accounts              D   Medical            D Warden
D Chapel - -                                                                       D              Deputy Warden         D   Inmate Telephones            D   SOG Commander      OOther_ __
0 Commissary                                                                       D              Education             D   Kitchen                      D   Treatment

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                       EXHIBIT ' 'E'
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                                - - -                                                  --           ~-··--·-                        I   INMATE GRIEVANCE FORM


          Inmate Namc /\)nn"/ICI/!                                               11l        !3Jil                                                                                                     BCP# c:).D 0           I -J ))-))                                  Cell        ,_J- /))3
                                                                                                                                                                                                                                                                          Date          h It / £{!/~
                                                                                       Instructions: Refer to the i!1mate handbook for information on the inmate grievance system.
                                                                                                                                                                                                                                                                                         I        I

                                                                                                                                                       Administration Use Only

                   0   Does not fit criteria for an emergency/sensitive grievance                                                                             0              Form is incomplete                                 0    Resubmit on proper form

                                                                             D         Lacks details                                                                                          0      Must be completed in English

               Statement: Detail the act or condition which caused this grievance: (Be specific; list all dates, times, locations and witnesses.)


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               Grievance Answered                                By:__,_/,,.....,_'(_-_·"_""[__,
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               Original: Treatment File                                          Canary: Return to inmate with response
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                                                           BERKS Document
                                       Case 5:16-cv-04620-GEKP   COUNTY JAIL
                                                                          5 SYSTEM
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                                                                                            INMATE GRIEVANCE FORM


           InmateName_              /\__/clYfY]~n /V{ V~C{l){                                                                              BCP#     d-D!>)-!,J./,J..J:J        Cell         J-d/3
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                                                                                                      .. Administration Use Only

              D   Does not fit criteria for an emergency/sensitive grievance                                 D     Form is incomplete                    D   Resubmit on proper form

                                                              D    Lacks details                                                  D    Must be completed in English

              Statement: Detail the act or condition which caused this grievance. (Be specific; list all dates;ctimes, locations and witnesses.) ·· "

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            Grievance Response:




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              Original: Treatment File                        Canary: Return to inmate with response
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                                                    Case 5:16-cv-04620-GEKP   Document 5 SYSTEM
                                                                                          Filed 10/24/16 Page 17 of 21
                                                                                                                     INMATE GRIEVANCE FORM


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            Statement: Detail the act or condition which caused this grievance:· (Be speeific;' l·ist: all · dates ~· times; locations· and witnesses.)· ,,.,.
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         Grievance Response:
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          Grievance Answered By: _ _,.;;-__
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                           Case 5:16-cv-04620-GEKP          JAIL
                                                     Document 5 SYSTEM
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                                                                          INMATE GRIEVANCE FORM
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Inmate Name .l,/DrMQf)                 M. Vf tui                                                                          BCP#    JODI· JJ.J .'L                      "'i
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                                                                                   Administration Use Only

     D    Docs not fit criteria for an emergency/sensitive grievance                    D    Form is incomplete                            D   Resubmit on proper form

                                       D        Lacks details                                                   D   Must be completed in English

    Statement: Detail the act or condition which caused this grievance. (Be specific; list all dates, times, locations and witnesses.)




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Grievance Response:




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             .p·                                                                    INMATE GRIEVANCE FORM


 Inmate                Name.1~/nr/Yl{)f)
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     Statement: Detail the act or condition which caused this grievance. (Be specific; list all dates, times, locations and witnesses.)


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  Grievance Response:




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     Ori ginal: Treatment File                        Canary: Return to inmate with respons1                                                                                   FORM# REC 120 (REV 2/10)
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                             Case 5:16-cv-04620-GEKP   COUNTY JAIL
                                                                5 SYSTEM
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                                                                INMATE GRIEVANCE FORM


  Inmate Name. tJo r!YlOfl          d;/.    VNt C¥                                                      BCP#        c).oo I·             )!fl_ ( :..        Cell , ) '"       -j!_ 15
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    D   Does not fit criteria for an emergency/sensitive grievance             D    Form is incomplete                           D           Resnbmit on proper form

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   Statement: Detail the act or condition which caused this grievance. (Be specific; list all dates, times, locations and witnesses.)




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  Grievance Response:




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   Original: Treatment Fi le         Canary: Return to inmate with response                                                                                     FORM # REC 120 (REV 2110)
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                                                                 INMATE GRIEVANCE FORM

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Inmate Name.N611vi1Vl                Ai/. VWfA                                                             BCP#        fl. oDf 2 t/ 2              Cell , ) C/, j
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  Statement: Detail the act or condition which caused this grievance. (Be specific; list all dates, times, locations and witnesses.)
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                                                             FOR AMINISTRATlVE USE ONLY
 Grievance Response:




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Ic,;.,anoe Anmmd By, _ __ _ _ _ __ _ _ _ __ _                                                                                            Date_ _ _ _ __ __ _



                                          G rievance   #fl fJ> Q{)7-lw                                      Date Posted        {J J2() Jle?I
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